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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

___________________________________
                                   :
MICHAEL SPATARO,                   :
                                   :
          Petitioner,              :          Civ. No. 15-1736 (NLH)
                                   :
     v.                            :          OPINION
                                   :
JORDAN HOLLINGSWORTH,              :
                                   :
          Respondent.              :
___________________________________:

APPEARANCES
Stephen Turano
60 Park Place, Suite 703
Newark, NJ 07102
     Counsel for Petitioner

Anne B. Taylor
Office of the United States Attorney
401 Market Street, 4th Floor
P.O. Box 2098
Camden, NJ 08101
     Counsel for Respondent

HILLMAN, District Judge

     Petitioner Michael Spataro, a prisoner currently confined

at the Federal Correctional Institution at Fort Dix, New Jersey,

has submitted a Petition for writ of habeas corpus pursuant to

28 U.S.C. § 2241.     This matter is presently before the Court

upon Respondents’ Motion to Dismiss. (ECF No. 14).           For the

reasons set forth below, the Motion will be GRANTED and the

Petition will be dismissed without prejudice.
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                              I.     BACKGROUND

     On February 14, 2006, Petitioner was convicted by a jury in

the Eastern District of New York of conspiracy to commit murder

in aid of racketeering, in violation of 18 U.S.C. § 1959(a)(5),

assault with a dangerous weapon in aid of racketeering, in

violation of 18 U.S.C. § 1959(a)(3), and use of a firearm in

connection with the above-mentioned offenses, in violation of 18

U.S.C. § 924(c)(1)(A)(iii).        Petitioner appealed his conviction

and sentence.    The Court of Appeals for the Second Circuit

affirmed the judgment of the district court, but vacated and

remanded to the district court for resentencing with

instructions to provide reasons for imposing a sentence which

was above the guideline range provided by the Sentencing

Guidelines. See United States v. Persico, 293 F. App'x 24, 27

(2d Cir. 2008).    Petitioner then filed a petition for a writ of

certiorari to the United States Supreme Court, which was denied

on June 22, 2009. Spataro v. United States, 557 U.S. 926, 129 S.

Ct. 2845, 174 L. Ed. 2d 565 (2009).

     On resentencing, the United States District Court for the

Eastern District of New York adhered to the previously imposed

sentence of 170 months imprisonment on Count Three, to run

consecutively with Petitioner’s concurrent sentences on Counts

One and Two, totaling 338 months imprisonment. United States v.

Spataro, No. 04 CR 911, 2009 WL 792045, at *2 (E.D.N.Y. Mar. 20,

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2009).      Petitioner then filed a petition for writ of habeas

corpus pursuant to 28 U.S.C. § 2255 which was denied by the

United States District Court for the Eastern District of New

York. Spataro v. United States, No. 10 CV 2668, 2013 WL 618426,

at *1 (E.D.N.Y. Feb. 19, 2013).

        On or about March 9, 2015, Petitioner filed the instant

petition for writ of habeas corpus pursuant to 28 U.S.C. § 2241.

Petitioner names as party respondent, Warden Jordan

Hollingsworth, as the person having custody over him pursuant to

28 U.S.C. § 2242.

        In his Petition, Petitioner asserts that he is actually

innocent of the aiding and abetting § 924(c) offense for which

he was convicted, in light of the Supreme Court’s decision in

Rosemond v. United States, 134 S. Ct. 1240, 188 L. Ed. 2d 248

(2014). (Pet. 14, ECF No. 1) (the “Rosemond claim”).              Petitioner

further asserts that the Supreme Court’s decision in Rosemond is

in direct conflict with the commonly given Pinkerton

instruction, see Pinkerton v. United States, 328 U.S. 640, 66 S.

Ct. 1180, 90 L. Ed. 1489 (1946), which was presented to the jury

in Petitioner’s case. 1 (Pet. 21, ECF No. 1) (the “Pinkerton

claim”).




1 A more detailed discussion of the Supreme Court’s holdings in
Rosemond and Pinkerton is provided below.

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     In an Order dated July 2, 2015, the Court required an

Answer from Respondent, and specifically directed Respondent to

address the effect and potential retroactive application of the

Supreme Court’s decision in Rosemond.        On October 23, 2015, upon

permission from the Court, Respondent filed a Motion to Dismiss

in lieu of filing a full and complete Answer. (ECF No. 14).

Respondent argues that the Petition should be dismissed for lack

of subject matter jurisdiction because the Court’s holding in

Rosemond did not announce a new rule of law which would afford

Petitioner the relief he seeks. (Resp’t 6-7, ECF No. 14-1).

Additionally, Respondent asserts that this Court lacks subject

matter jurisdiction because “Petitioner could have [previously]

raised his argument about the alleged incompatibility between

Pinkerton liability and aiding and abetting liability[.]” (Id.

at 7).

     Petitioner, who obtained counsel subsequent to the initial

filing of his Petition, filed a Response in Opposition to

Respondent’s Motion (ECF No. 19), and Respondent filed a Reply

(ECF No. 21).

                         II.   STANDARDS OF REVIEW

  A. Motion to Dismiss under Rule 12(b)(1)

     Pursuant to the Federal Rule of Civil Procedure 12(b)(1), a

claim can be dismissed for “lack of jurisdiction over the

subject matter.”    A motion to dismiss of this type may be

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asserted at any time in a case. In re Kaiser Group Int'l, Inc.,

399 F.3d 558, 565 (3d Cir. 2005).

     There are two types of Rule 12(b)(1) motions: one which

presents a facial challenge, and one which presents a factual

challenge. See Petruska v. Gannon Univ., 462 F.3d 294, 302 n.3

(3d Cir. 2006) (citing Mortensen v. First Fed. Sav. & Loan

Ass'n, 549 F.2d 884, 891 (3d Cir. 1977)).         A “facial attack”

assumes that the allegations of the complaint are true, but

contends that the pleadings fail to present an action within the

court's jurisdiction. Mortensen, 549 F.2d at 891.          “When

considering a facial attack, ‘the Court must consider the

allegations of the complaint as true,’ and in that respect such

a Rule 12(b)(1) motion is similar to a Rule 12(b)(6) motion.”

Petruska, 462 F.3d at 302 n.3 (citing Mortensen, 549 F.2d at

891).

     If the defendant's attack is facial, “the Court . . . may

dismiss the complaint only if it appears to a certainty that the

plaintiff will not be able to assert a colorable claim of

subject matter jurisdiction.” N.J. Prot. & Advocacy, Inc. v.

N.J. Dep't of Educ., 563 F. Supp. 2d 474, 479–80 (D.N.J. 2008)

(citing Cardio–Med. Assoc., Ltd. v. Crozer–Chester Med. Ctr.,

721 F.2d 68, 75 (3d Cir. 1983) and Iwanowa v. Ford Motor Co., 67

F.Supp.2d 424, 438 (D.N.J. 1999)); see also Mount v. Shikmus,




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No. 15-1734, 2016 WL 344524, at *2 (D.N.J. Jan. 27, 2016)

(same).

       By contrast, when an attack is a factual attack,

       there is substantial authority that the trial court is
       free to weigh the evidence and satisfy itself as to
       the existence of its power to hear the case. In
       short, no presumptive truthfulness attaches to
       plaintiff's allegations, and the existence of disputed
       material facts will not preclude the trial court from
       evaluating for itself the merits of jurisdictional
       claims. Moreover, the plaintiff will have the burden
       of proof that jurisdiction does in fact exist.

Mortensen, 549 F.2d at 891.

       Here, Respondent has not stated whether his Rule 12(b)(1)

motion is a facial or factual attack.        Further confusing

matters, the cases cited by Respondent involve both types of

challenges — facial and factual — to subject matter

jurisdiction. Compare Kalick v. United States, 35 F. Supp. 3d

639 (D.N.J. 2014) aff'd, 604 F. App'x 108 (3d Cir. 2015) cert.

denied, 136 S. Ct. 141, 193 L. Ed. 2d 106 (2015) (involving a

facial attack); with A.D. v. Haddon Heights Bd. of Educ., 90 F.

Supp. 3d 326, 334 (D.N.J. 2015) (involving a factual attack).

The precise form of the challenge under 12(b)(1) is significant

because, as set forth above, the standard of review for a facial

and factual attack “differs greatly.” Mortensen, 549 F.2d at

891.

       Given the facts of this case, the Court concludes that

Respondent has asserted a facial attack pursuant to FED. R. CIV.

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P. 12(b)(1).    As an initial matter, “[a] factual jurisdictional

proceeding cannot occur until plaintiff's allegations have been

controverted.” Mortensen, 549 F.2d at 892 n.17.          Because

Respondent filed this Motion to Dismiss prior to filing an

Answer to the Petition, Plaintiff’s allegations have not been

controverted and Respondent’s attack is considered a facial

challenge. See Constitution Party of Pennsylvania v. Aichele,

757 F.3d 347, 358 (3d Cir. 2014) (holding that a 12(b)(6) motion

filed prior to any answer was, “by definition, a facial

attack”); Kalick, 35 F. Supp. 3d at 644 (citing Cardio–Med.

Associates, Ltd., 721 F.2d at 75) (“A motion to dismiss for lack

of subject matter jurisdiction pursuant to FED. R. CIV. P.

12(b)(1) which is filed prior to answering the complaint is

considered a ‘facial challenge’ to the court's subject matter

jurisdiction.”).

     Moreover, Respondent’s motion alleges that the particular

circumstances of Petitioner’s case do not fit within the narrow

“safety valve” of § 2255, discussed below. (Resp’t 12, ECF No.

14-1).   Therefore, Respondent does not hinge its jurisdictional

argument on an assertion that the factual allegations of the

Petition are untrue; but rather Respondent contends that the

allegations of the Petition, even if true, do not set forth a

claim that is within this Court’s jurisdiction.          Such a

challenge is a facial challenge. See, e.g., Jamal v. Kane, 96 F.

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Supp. 3d 447, 452 (M.D. Pa. 2015) (citations omitted)

(explaining difference between facial and factual challenges). 2

     B. Jurisdiction - § 2241 as “Safety Valve” to § 2255

        “It is axiomatic that federal courts are courts of limited

jurisdiction, and as such are under a continuing duty to satisfy

themselves of their jurisdiction before proceeding to the merits

of any case.” Packard v. Provident Nat. Bank, 994 F.2d 1039,

1049 (3d Cir. 1993) (citations omitted), cert. denied, 510 U.S.

946 (1993); see also Gunn v. Minton, 133 S.Ct. 1059, 1064

(2013); Bender v. Williamsport Area School District, 475 U.S.

534, 541 (1986).       Here, Petitioner has asserted jurisdiction

pursuant to 28 U.S.C. § 2241 under the “safety valve” of 28

U.S.C. § 2255.

        As noted by the Court of Appeals for the Third Circuit in

In re Dorsainvil, 119 F.3d 245, 249 (3d Cir. 1997), a motion to

vacate, set aside, or correct sentence under 28 U.S.C. § 2255




2 The Court notes that Respondent has attached declarations and
exhibits to his Motion. (ECF Nos. 14-5, 14-6). However, because
the instant Motion was filed prior to the filing of an Answer
and is being construed as a facial attack, the Court will
consider “only whether the allegations on the face of the
[Petition], taken as true, allege facts sufficient to invoke the
jurisdiction of the district court.” Licata v. U.S. Postal
Serv., 33 F.3d 259, 260 (3d Cir. 1994). Further, the
declarations provided, see (ECF Nos. 14-2 & 14-5), do not
dispute the allegations of the Petition; and, instead, provide
calculations regarding Petitioner’s sentence and projected
release date, and attest to the accuracy of certain transcripts.


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has been the “usual avenue” for federal prisoners seeking to

challenge the legality of their confinement. See also Okereke v.

United States, 307 F.3d 117, 120 (3d Cir. 2002); United States

v. McKeithan, 437 F. App'x 148, 150 (3d Cir. 2011); United

States v.    Walker, 980 F. Supp. 144, 145–46 (E.D. Pa. 1997)

(challenges to a sentence as imposed should be brought under §

2255, while challenges to the manner in which a sentence is

executed should be brought under § 2241).

     Section 2255, however, contains a safety valve where “it

appears that the remedy by motion is inadequate or ineffective

to test the legality of [Petitioner's] detention.” See 28 U.S.C.

§ 2255(e).    In Dorsainvil, the Third Circuit held that the

remedy provided by § 2255 is “inadequate or ineffective,”

permitting resort to § 2241 (a statute without timeliness or

successive petition limitations), where a prisoner who

previously had filed a § 2255 motion on other grounds “had no

earlier opportunity to challenge his conviction for a crime that

an intervening change in substantive law may negate.”

Dorsainvil, 119 F.3d at 251.       The court emphasized, however,

that its holding was not intended to suggest that § 2255 would

be considered “inadequate or ineffective” merely because a

petitioner is unable to meet the stringent limitations or

gatekeeping requirements of § 2255. Id.         To the contrary, the

court was persuaded that § 2255 was “inadequate or ineffective”

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in the unusual circumstances presented in Dorsainvil because it

would have been a complete miscarriage of justice to confine a

prisoner for conduct that, based upon an intervening

interpretation of the statute of conviction by the United States

Supreme Court, may not have been criminal conduct at all. Id. at

251-52.

         The mere fact that a claim is time barred does not render §

2255 an inadequate or ineffective remedy. See Cradle v. United

States, 290 F.3d 536, 539 (3d Cir. 2002). 3           Rather, under

Dorsainvil and its progeny, this Court can exercise § 2241

jurisdiction over this Petition if, and only if, Petitioner

demonstrates: (1) his “actual innocence,” (2) as a result of a

retroactive change in substantive law that negates the

criminality of his conduct, (3) for which he had no other

opportunity to seek judicial review. See Dorsainvil, 119 F.3d at

251–52; Cradle, 290 F.3d at 539; Okereke, 307 F.3d at 120;

Trenkler v. Pugh, 83 F. App'x 468, 470 (3d Cir. 2003).




3 Motions under § 2255 must be made within one year of “(1) the
date on which the judgment of conviction becomes final; ... [or]
(3) the date on which the right asserted was initially
recognized by the Supreme Court, if that right has been newly
recognized by the Supreme Court and made retroactively
applicable to cases on collateral review, or (4) the date on
which the facts supporting the claim or claims presented could
have been discovered through the exercise of due diligence.” 28
U.S.C. § 2255(f).

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                               III. ANALYSIS

     As set forth above, Respondent’s arguments in support of

his Motion to Dismiss are two-fold.       First, Respondent argues

that the Petition should be dismissed for lack of subject matter

jurisdiction because the Court’s holding in Rosemond did not

announce a new rule of law which would afford Petitioner the

relief he seeks. (Resp’t 6-7, ECF No. 14-1).         Next, Respondent

asserts that this Court lacks subject matter jurisdiction

because “Petitioner could have [previously] raised his argument

about the alleged incompatibility between Pinkerton liability

and aiding and abetting liability[.]” (Id. at 7).          The Court

will address each argument in turn.

  A. Rosemond Claim

     The Third Circuit has explained that:

     In Rosemond, the Supreme Court clarified the standard
     for showing that a defendant aided and abetted a §
     924(c) offense, holding that the government must prove
     that “the defendant actively participated in the
     underlying ... violent crime with advance knowledge
     that a confederate would use or carry a gun during the
     crime's commission.” 134 S.Ct. at 1243 (emphasis
     added). The Court explained that advance knowledge of
     the use of a firearm was necessary so that a defendant
     would have the opportunity to choose whether to
     continue with the crime or withdraw. Id. at 1249.

Tawalebah v. Warden Fort Dix FCI, 614 F. App'x 46, 48 (3d Cir.

2015) (footnote omitted) (emphasis in original).

     In his Motion to Dismiss, Respondent does not address the

retroactivity of Rosemond.      Instead, Respondent contends that

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the Petition does not fit within the narrow “safety valve” of §

2255, and thus this Court lacks jurisdiction, because the rule

announced in Rosemond does not negate the crime for which

Petitioner was convicted. (Resp’t 12, ECF No. 14-1).          More

specifically, Respondent asserts that the standard used to prove

aiding and abetting a firearms offense in the Second Circuit was

more stringent, not less, than the rule announced in Rosemond.

(Id.).

     In his Opposition, Petitioner argues that Rosemond did not

make the standard of proof easier, but instead “added another

element that the government must prove before a defendant can be

convicted of the crime.” (Pet’r’s Opp’n 3, ECF No. 17).

Petitioner asserts that the decision in Rosemond “imposed an

additional burden on the government to prove advanced knowledge,

effectively making it much more difficult to convict.” (Id.).

     In his Reply submission, Respondent states that “[t]he jury

in Petitioner’s case was instructed that, consistent with Second

Circuit law at the time of trial, ‘the defendant must have

actively assisted the other person in using or carrying the

firearm so that he could commit the specific crime of violence

charged in the indictment.’” (Resp’t’s Reply 1-2, ECF No. 21)

(citing (Trial Tr. 1230:24-1231:2, Charge, Resp’t’s Ex. A, ECF

No. 14-6)).   Respondent asserts that “[t]he active assistance in

using or carrying a firearm to commit a crime of violence

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necessarily implies an intent or advanced knowledge that a

firearm will be used[,]” and Respondent cites to recent cases

from the Second Circuit in support of this proposition. (Id.)

(citing United States v. Young, 561 F. App'x 85, 92 (2d Cir.)

cert. denied, 135 S. Ct. 387, 190 L. Ed. 2d 273 (2014) and cert.

denied sub nom. Chambliss v. United States, 135 S. Ct. 388, 190

L. Ed. 2d 274 (2014) and Qadar v. United States, No. 13-CV-2967,

2014 WL 3921360, at *14 (E.D.N.Y. Aug. 11, 2014), appeal

dismissed (Jan. 28, 2015)).      This Court agrees with Respondent

and applies the analysis set forth in relevant Second Circuit

case law.

     The Second Circuit has held that “[b]y finding that [a

defendant] encouraged the ‘actual using, carrying of, or

possession’ of a firearm in the [commission of the crime], the

jury necessarily also had to find that he had advance knowledge

of the firearm-related conduct, consistent with the Supreme

Court's explication in Rosemond.” Young, 561 F. App’x at 92; see

also Qadar, No. 13-CV-2967, 2014 WL 3921360, at *14.            Although

the decisions of the Second Circuit are not binding on this

Court, this Court finds the analysis persuasive in determining

whether the Rosemond decision negates the crime for which

Petitioner was actually tried and convicted.

     As Respondent points out, the jury in Petitioner’s case was

instructed that, to find Petitioner guilty under the aiding and

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abetting rule, it had to find that Petitioner “actively assisted

the other person in using or carrying the firearm so that he

could commit the specific crime of violence charged in the

indictment.” (Trial Tr. 1230:24-1231:2, Charge, Resp’t’s Ex. A,

ECF No. 14-6).        Thus, the language utilized in the jury

instruction incorporates the foreknowledge Rosemond requires.

Contrary to Petitioner’s assertions, the Second Circuit aiding

and abetting evidentiary standard — which required not just

“advanced knowledge” of, but “active assistance” in using or

carrying a firearm — was higher than the standard set forth in

Rosemond. See, e.g., (Charge Tr. 1232:22-24) (instructing that

just must find that Petitioner “performed some act that directly

facilitated or encouraged the perpetrator in the use or carrying

of a firearm”).        By finding Petitioner guilty under an aiding

and abetting standard, the jury necessarily found all the

elements Rosemond would have required. 4           Accordingly, because

Rosemond does not represent a retroactive change in the law


4 To the extent Petitioner argues that there was “[n]othing in
the record [which] would support a determination that Petitioner
knew, beforehand, that a gun, any gun, would be used to effect
the attempted killing of [the victim]” (Pet. 15, ECF No. 1),
such a claim is more accurately framed as a challenge to the
sufficiency of the evidence at trial. See also (Pet’r’s Opp’n 2,
ECF No. 19) (“Here, the record from Petitioner’s original
conviction contains no evidence that could suggest [Petitioner]
was aware a gun would be used or carried by his confederate
until after the crime was committed.”). That type of claim does
not squarely fall within the safety valve to § 2241, and instead
is more appropriately raised in a motion pursuant to § 2255.

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which negates the criminality of his conduct, Petitioner’s claim

does not fit within the Dorsainvil exception, and it must be

dismissed. See Dorsainvil, 119 F.3d at 251–52.

  B. Pinkerton

     The Supreme Court’s holding in Pinkerton permits the

conviction of a defendant for acts by a co-conspirator that were

“done in furtherance of the conspiracy” and that could have been

“reasonably foreseen as a necessary or natural consequence” of

the conspiracy. Pinkerton v. United States, 328 U.S. 640, 647-

48, 66 S. Ct. 1180, 1184, 90 L. Ed. 1489 (1946).

     As his second argument in support of his Motion to Dismiss,

Respondent asserts that Petitioner’s argument as it pertains to

Pinkerton should be dismissed because “the same discordance

identified by Petitioner between Pinkerton and the ‘aiding and

abetting’ standard of proof existed at the time of his

conviction under Second Circuit aiding and abetting law, and he

could have made that argument on direct appeal or via a petition

pursuant to Section 2255.” (Resp’t 19, ECF No. 14-1).

     In his Petition, Petitioner objects to the “broad reach” of

Pinkerton liability, and asserts that it is in “conflict[] with

the teachings of Rosemond and creates a high risk that

defendants charged with aiding and abetting 924(c) offenses will

be convicted for a crime that, ‘as a matter of law’ [they] did

not commit.” (Pet. 24, ECF No. 1).       More specifically,

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Petitioner explains that the requirement in Rosemond — that a

defendant must have “advanced knowledge” that a confederate

would use or carry a firearm — is in conflict with the Pinkerton

instruction — which requires only that it is “reasonably

foreseeable” that a co-conspirator would use or carry a firearm.

However, as discussed above, the aiding and abetting instruction

given at trial utilized an even stricter evidentiary standard

than that introduced by Rosemond.        Therefore, to the extent

Petitioner asserts that a “conflict” exists between Pinkerton

liability and the “teachings of Rosemond,” this same conflict

existed to an even greater degree between Pinkerton liability

and the aiding and abetting theory used at the time of his

initial trial.    In other words, if Petitioner now takes issue

with the difference between Pinkerton’s “reasonable

foreseeability” and Rosemond’s “advanced knowledge” requirement,

then Petitioner certainly could have taken issue with the

difference between Pinkerton’s “reasonable foreseeability” and

the “active assistance” requirement imposed at his trial.

     Because the same “conflict” identified in the instant

Petition existed at the time of Petitioner’s trial, Petitioner

had an earlier opportunity to seek judicial review of this

claim; and he cannot satisfy the third prong of Dorsainvil. See

Dorsainvil, 119 F.3d at 251–52.       For this reason, the claim will

be dismissed.

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     Further, to the extent Petitioner argues that Pinkerton is

insufficient and constitutionally deficient in light of the

Supreme Court’s holding in Rosemond (Pet. 21-24, ECF No. 1), his

claim fails.   In his Petition, Petitioner asserts that “after

Rosemond the Pinkerton liability rule of law now must be

tempered to exclude applicability to ‘aiding and abetting[]’ a §

924(c) offense for in some light, Rosemond does overrule

Pinkerton albeit the Supreme Court not expressly stating so.”

(Pet. 24, ECF No. 1).     However, the holdings in Rosemond and

Pinkerton address two distinct and separate theories of

vicarious liability. Compare Rosemond, 134 S. Ct. at 1251

(holding that conviction of aiding and abetting offense of using

firearm requires government to prove advance knowledge of the

firearm) with Pinkerton, 328 U.S. at 646-48 (permitting

conviction of a defendant for acts by a co-conspirator that were

“done in furtherance of the conspiracy” and that could have been

“reasonably foreseen as a necessary or natural consequence” of

the conspiracy).    Indeed, the Third Circuit has noted that a

conviction under a theory of vicarious liability pursuant to

Pinkerton serves as an “alternate basis” for conviction.

Tawalebah, 614 F. App’x at 49 n.2.

     Because Pinkerton and Rosemond address two separate

theories of liability, there has been no intervening change in

law and the “safety valve” to § 2255 does not apply to

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Petitioner’s Pinkerton claim. See Okereke, 307 F.3d at 120.

Petitioner’s conclusory statement that “Rosemond does overrule

Pinkerton” (Pet. 24, ECF No. 1), is unsupported and without

merit.      Petitioner has failed to bring his Pinkerton claim

within the Dorsainvil rule and this Court lacks jurisdiction to

consider it under § 2241.

      C. Transfer

         Petitioner’s claims, once severed from the instant

Petition, would be more appropriately characterized as a second

or successive motion under § 2255, which Petitioner has not

received authorization to file 5, and over which this Court also

lacks jurisdiction.        If a “second or successive” habeas petition

is filed in the district court without authorization from the

appropriate court of appeals, the district court may dismiss for

lack of jurisdiction or transfer the petition to the court of

appeals pursuant to 28 U.S.C. § 1631. See Padilla v. Miner, 150

F. App'x 116 (3d Cir.2005); Littles v. United States, 142 F.

App'x 103, 104 n. 1 (3d Cir.2005) (citing Robinson v. Johnson,

313 F.3d 128, 139 (3d Cir.2002), cert. denied, 540 U.S. 826, 124

S. Ct. 48, 157 L.Ed.2d 49 (2003)).           However, because § 2244(b)

is effectively “‘an allocation of subject-matter jurisdiction to




5 Petitioner makes no allegation that he sought, or received,
permission from the Second Circuit to file a second or
successive motion under § 2255.

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the court of appeals,’” Robinson v. Johnson, 313 F.3d at 140

(quoting Nunez v. United States, 96 F.3d 990, 991 (7th

Cir.1996)), a district court may dismiss such a petition only

without prejudice. See Ray v. Eyster, 132 F.3d 152, 155–56 (3d

Cir.1997).

     As Petitioner has already filed a § 2255 motion in the

district court for the Eastern District of New York, see Spataro

v. United States, No. 10 CV 2668, 2013 WL 618426 (E.D.N.Y. Feb.

19, 2013), and cannot file a second or successive motion without

leave of the appropriate Court of Appeals, this Court must

determine whether transfer of this Petition to the Court of

Appeals for the Second Circuit, for consideration as an

application for leave to file a “second or successive” petition,

would be in the interest of justice.       Under 28 U.S.C. §§ 2244

and 2255, the Court of Appeals may authorize the filing of a

second or successive § 2255 motion only if it contains “(1)

newly discovered evidence that, if proven and viewed in light of

the evidence as a whole, would be sufficient to establish by

clear and convincing evidence that no reasonable factfinder

would have found the movant guilty of the offense, or (2) a new

rule of constitutional law, made retroactive to cases on

collateral review by the Supreme Court, that was previously

unavailable.” 28 U.S.C. § 2255.




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     In this case, Petitioner’s Rosemond and Pinkerton claims do

not allege as a ground for relief any of those for which a court

of appeals may authorize the filing of a second or successive §

2255 petition.    With respect to his Rosemond claim, as set forth

above, the Second Circuit has held that “[b]y finding that [a

defendant] encouraged the ‘actual using, carrying of, or

possession’ of a firearm in the [commission of the crime], the

jury necessarily also had to find that he had advance knowledge

of the firearm-related conduct, consistent with the Supreme

Court's explication in Rosemond.” Young, 561 F. App’x at 92; see

also Qadar, 2014 WL 3921360, at *14.       Thus, transfer of

Petitioner’s Rosemond claim would not be in the interest of

justice.

     Likewise, transfer of Petitioner’s Pinkerton claim would

not be in the interest of justice.       As an initial matter, and as

stated earlier, the Supreme Court’s decision in Rosemond did not

set forth a new rule of law with respect to theory of liability

outlined in Pinkerton.     The Second Circuit has explicitly held

that Pinkerton represents an alternative theory of guilt. See,

e.g., Young, 561 F. App'x at 92 (noting that even if there had

been error regarding aiding and abetting under Rosemond, any

such error was harmless because evidence supported petitioner’s

liability under Pinkerton); Qadar, 2014 WL 3921360, at *14 n.10




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(noting that Pinkerton represents a separate theory of liability

than aiding and abetting under Rosemond).

     For these reasons, it would not be in the interest of

justice to transfer the instant Petition, framed as a second or

successive § 2255 petition, to the Court of Appeals for the

Second Circuit.

                              IV.   CONCLUSION

     For the foregoing reasons, Respondent’s Motion to Dismiss

(ECF No. 14) is GRANTED and the Petition will be dismissed

without prejudice for lack of jurisdiction.

     An appropriate Order follows.



                                         _s/ Noel L. Hillman_______
                                         NOEL L. HILLMAN
                                         United States District Judge
Dated: July 21, 2016
At Camden, New Jersey




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